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11   UNITED STATES OF AMERICA

12                            UNITED STATES DISTRICT COURT

13                      FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                 No. CR 2:18-00759(B)-CJC-3

15               Plaintiff,                    GOVERNMENT’S SENTENCING POSITION
                                               FOR DEFENDANT TYLER LAUBE
16                    v.
                                               Hearing Date: April 4, 2024
17   TYLER LAUBE,                              Hearing Time: 11:00 a.m.
                                               Location:     Courtroom of the
18               Defendant.                                  Hon. Cormac J.
                                                             Carney
19

20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Kathrynne N. Seiden,
23   Solomon D. Kim, and Anna P. Boylan, hereby files its Sentencing
24   Position for Defendant Tyler Laube.
25         This Sentencing Position is based upon the attached memorandum
26   of points and authorities, the files and records in this case, and
27   such further evidence and argument as the Court may permit.             The
28   government respectfully requests the right to supplement this
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 1   Sentencing Position with additional information as needed, including

 2   to respond to defendant’s Sentencing Position.

 3    Dated: March 21, 2024                Respectfully submitted,

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2   I.    INTRODUCTION

 3         In March 2017, while still on probation for an armed robbery,

 4   defendant Tyler Laube (“defendant”) repeatedly punched a journalist

 5   in the face during a political rally.         In October 2023, defendant

 6   pled guilty to a superseding information charging him with one count

 7   of interference with a federally protected right without bodily

 8   injury, a Class A misdemeanor, in violation of 18 U.S.C. § 245(b)(3).

 9   (Dkts. 265, 268.)      In January 2024, the United States Probation and

10   Pretrial Services Office (“Probation”) issued its Presentence

11   Investigation Report (“PSR”) and Recommendation Letter, in which it

12   correctly calculated defendant’s total offense level as 8 and his

13   criminal history category as III, for a Guidelines range of six to 12

14   months.    (Dkt. 297 (PSR) ¶ 119.)      Probation recommended that

15   defendant be sentenced to a low-end Guidelines sentence of six

16   months’ imprisonment, a one-year term of supervised release, a

17   mandatory $25 special assessment, and a $2,000 fine.            (Dkt. 296

18   (Recommendation) at 1-2, 7.)        The government agrees with Probation’s

19   recommendation and requests that the Court sentence defendant

20   accordingly.

21   II.   BACKGROUND

22         Between January and April 2017, while still on probation for an

23   armed robbery involving a semiautomatic firearm, defendant became

24   involved in an organization originally known as the “DIY Division,”

25   which was later rebranded as the “Rise Above Movement,” or “RAM.”

26   (PSR ¶¶ 21, 47; Dkt. 262 (Plea Agreement) ¶ 9.)           RAM represented

27   itself as a combat-ready, militant group of a new nationalist white

28   supremacy and identity movement.        (Id.)   RAM regularly held hand-to-
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 1   hand and other combat training for RAM members and associates to

 2   prepare to engage in violent confrontations with protestors and other

 3   individuals at political rallies.        (Id.)    Defendant’s coconspirators

 4   maintained a RAM Twitter account through which they posted videos and

 5   photographs of RAM members, including defendant, training in hand-to-

 6   hand combat and assaulting people at political events with their

 7   faces partially obscured by skeleton or American flag masks.             (PSR

 8   ¶ 22.)

 9         On March 15, 2017, defendant attended a combat training event in

10   San Clemente, California.       (Plea Agreement ¶ 9.)      Ten days later, and

11   while still on probation for armed robbery, defendant and several of

12   his coconspirators attended a political rally in Huntington Beach,

13   California, organized by supporters of then-President Donald Trump.

14   (Id. ¶¶ 22, 47.)     Defendant and his coconspirators carried signs that

15   read “Defend America” and “Da Goyim Know,” a phrase used by white
16   supremacist extremists to refer to their knowledge of a purported
17   Jewish conspiracy to control world affairs.          (Id. ¶ 24.)
18         At the event, a riot ensued during which defendant and his
19   associates assaulted counter-protestors and other persons.             (Plea

20   Agreement ¶ 9.)     Specifically, several rally attendees confronted,

21   pushed, and then punched F.T., a journalist reporting on the rally,

22   and his colleague.      (PSR ¶ 24.)    As F.T. stumbled backward, defendant

23   approached F.T., grabbed his shoulder, and punched him several times

24   in the head and body1 before a counter-protestor released pepper

25   spray, causing the crowd to momentarily disperse.           (Id.; Plea

26   Agreement ¶ 9.)

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           1   Fortunately, F.T. was not injured.      (Plea Agreement ¶ 9.)
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 1          Undeterred, defendant and his coconspirators then pursued a

 2   group of approximately three to five counter-protestors as they

 3   walked north along the beach, away from the crowd and away from

 4   defendant and his coconspirators.        (Dkt. 1 (Compl.) ¶ 23.)

 5   Defendant’s coconspirators proceeded to kick a counter-protestor

 6   repeatedly in the back, punch another in the face, and punch a third

 7   in the back of the head.       (Id. ¶¶ 24-26.)     Eventually, coconspirator

 8   Robert Rundo (“Rundo”) held a counter-protestor on the ground,

 9   punching him repeatedly in the head while other RAM members looked

10   on, cheered, and prevented others from intervening.            (Id. ¶ 26.)

11          During and after those confrontations, the majority of the rally
12   attendees continued peacefully marching south down the beach, while
13   defendant and his coconspirators remained in the same area with a
14   group of other rally attendees.        (Id. ¶ 28.)    Approximately twenty
15   minutes later, defendant and his coconspirators led a group of
16   approximately 15 to 20 men in pursuing counter-protestors for over a
17   minute as they continued north along the beach, towards the parking
18   lot.   (Id. ¶ 28; PSR ¶ 25.)
19          In November 2018, defendant was charged with conspiring to riot,

20   in violation of 18 U.S.C. § 371.        (Dkt. 47.)    Defendant initially

21   pled guilty, but later withdrew his plea after the Court dismissed

22   the indictment.     (Dkts. 147, 151.)        After the Ninth Circuit reversed

23   dismissal of the indictment, defendant was charged in a superseding

24   indictment with conspiring to riot. (Dkts. 161, 209.)            On October 23,

25   2023, defendant pled guilty to a second superseding information

26   charging him with interference with a federally protected right

27   without bodily injury, a misdemeanor, in violation of 18 U.S.C.

28   § 245(b)(3).     (Dkts. 265, 268.)     In doing so, defendant admitted that

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 1   in repeatedly punching F.T., he intentionally and willfully

 2   interfered with and intimidated F.T.         (Plea Agreement ¶ 9.)

 3   III. PROBATION’S GUIDELINES CALCULATIONS AND RECOMMENDATION

 4           Based on the foregoing, Probation determined that defendant’s

 5   base offense level is 10 under U.S.S.G. § 2H1.1(a)(3) and that

 6   defendant is entitled to a two-level reduction for acceptance of

 7   responsibility under U.S.S.G. § 3E1.1(a), for a total offense level

 8   of 8.    (PSR ¶¶ 32-41.)     Probation further determined that defendant

 9   has 6 criminal history points, for a criminal history category of

10   III.    (Id. ¶¶ 51-53.)    Based on a total offense level of 8 and a

11   criminal history category of III, Probation calculated defendant’s
12   Guidelines range as six to 12 months’ imprisonment and a one-year
13   term of supervised release.       (Id. ¶¶ 199, 122.)      Probation correctly
14   determined that defendant’s term of imprisonment and term of
15   supervised release are statutorily capped at one year.            (Id. ¶¶ 118,
16   121.)    Probation identified no factors that would warrant a departure
17   or variance from the applicable Guidelines range.           (Id. ¶¶ 132-33.)
18   IV.     SIX MONTHS’ IMPRISONMENT AND A ONE-YEAR TERM OF SUPERVISED
             RELEASE IS SUFFICIENT BUT NOT GREATER THAN NECESSARY TO ACCOUNT
19           FOR THE § 3553(A) FACTORS
20           The government respectfully requests that the Court adopt
21   Probation’s factual findings and Guidelines calculations and sentence
22   defendant to a low-end Guidelines sentence of six months’
23   imprisonment, a one-year term of supervised release, a $2,000 fine,
24   and a $25 special assessment.
25           A.   Defendant’s History and Characteristics and the Need For
26                Deterrence and to Promote Respect For the Law

27           Defendant’s history and characteristics and the need for

28   deterrence and to promote respect for the law all warrant a within-

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 1   Guidelines sentence.      18 U.S.C. §§ 3553(a)(1), (2)(A)-(B).

 2   Defendant’s illegal conduct in this case was not a one-off incident;

 3   rather, defendant has amassed a significant number of criminal

 4   convictions, despite being only 27 years old.           Specifically, after

 5   sustaining numerous juvenile convictions, at 19 years old defendant

 6   was convicted of second-degree robbery because he and a friend used a

 7   semi-automatic handgun to rob a 7-11 convenience store and a gas

 8   station.    (PSR ¶ 47.)    That same year, he was also convicted of

 9   possession of a switchblade and resisting arrest, all based on

10   separate incidents. (Id. ¶¶ 48-49.)          Each time, defendant was

11   sentenced to a term of probation, which he repeatedly violated.              (Id.
12   ¶¶ 47-49.)    Some of those violations involved additional arrests
13   beyond those reflected in his convictions, including arrests for
14   fighting in public and driving under the influence in May and June of
15   2016.    (Id. ¶¶ 56-57.)     Defendant was still on probation when he
16   committed the instant crime.        (Id.)    And despite his storied criminal
17   history, up until he was charged in this case, defendant had spent
18   only 21 days in jail.      (Id. ¶ 47.)
19           Moreover, even defendant’s federal indictment in this case, or

20   the brief period he spent in custody as a result, was not sufficient

21   to deter him from quickly reverting to his illegal conduct.             Just

22   months after withdrawing his guilty plea in this case, defendant was

23   arrested for driving under the influence, for which he was convicted.

24   (Id. ¶ 50.)     Defendant was once again sentenced to a term of

25   probation.    (Id.)

26           Given defendant’s pattern of recidivism, his repeated violent

27   conduct, and his failure to appreciate the leniency he has been shown

28   thus far, a within-Guidelines sentence is necessary to deter him and

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 1   other similarly situated defendants from engaging in future criminal

 2   conduct, especially violence, and to promote respect for the law.

 3   See 18 U.S.C. § 3553(a)(2)(A)-(B).

 4         B.    The Nature and Circumstances of the Crime

 5         A low-end Guidelines sentence is further supported by
 6   defendant’s conduct in this case.        Admittedly, defendant’s
 7   involvement with RAM was brief and the conduct to which he pled
 8   guilty was primarily confined to his preparation for and behavior at
 9   a single protest.      But those facts have already been taken into
10   consideration, given that defendant was permitted to plead guilty to
11   a misdemeanor offense, rather than the felony conspiracy for which he
12   was charged.     Defendant’s conduct -- intentionally committing an act
13   of violence at a political rally -- was something he trained for and
14   willfully engaged in.      (PSR ¶ 23; Plea Agreement ¶ 9.)        And
15   defendant’s conduct was less excusable given that he committed it
16   against a journalist documenting the free expression of ideas.
17   Particularly given that defendant’s violence here echoed numerous
18   other instances of violence in his past, the government submits that
19   a conservative, low-end Guidelines sentence is warranted to capture
20   the nature and circumstances of defendant’s crime.           See 18 U.S.C.
21   § 3553(a)(1).
22         C.    The Need to Avoid Unwarranted Sentencing Disparities
23         Finally, a within-Guidelines sentence is further appropriate
24   because it will accomplish the goal avoiding unwarranted sentencing
25   disparities among similarly situated defendants.           Nationwide,
26   defendants with similar criminal histories to defendant’s who
27   willfully interfere with or intimidate others during a civil disorder
28   can expect to serve between six to twelve months’ imprisonment.              This
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 1   is true even for defendants who do not take the extra step of

 2   actually engaging in violence.        See 18 U.S.C. § 245(b) (prohibiting

 3   the use of force or threats).        Although defendant went further than

 4   other defendants facing the same sentence by actually engaging in

 5   violence, the government is still recommending a low-end Guidelines

 6   sentence.    By sentencing defendant within the Guidelines, the Court

 7   will minimize sentencing disparities among similarly situated

 8   defendants.     See United States v. Treadwell, 593 F.3d 990, 1011 (9th

 9   Cir. 2010) (“Because the Guidelines range was correctly calculated,

10   the district court was entitled to rely on the Guidelines range in

11   determining that there was no ‘unwarranted disparity’ . . . .”); Gall

12   v. United States, 552 U.S. 38, 54 (2007) (“[A]voidance of unwarranted
13   disparities was clearly considered by the Sentencing Commission when
14   setting the Guidelines ranges.”).
15   V.    CONCLUSION
16         For the foregoing reasons, the government respectfully requests
17   that the Court sentence defendant to six months’ imprisonment, a one-
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 1    year term of supervised release, a $2,000 fine, and a mandatory $25

 2    special assessment.

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       Dated: March 21, 2024                Respectfully submitted
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